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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 ERIC LAMAR WOODLEY,

       Petitioner,                            Civil Case No. 13-11190
                                              Criminal Case No. 04-80335
 v.                                           Hon. Gerald E. Rosen

 UNITED STATES OF AMERICA,

      Respondent.
 _________________________________/

                OPINION AND ORDER GRANTING
        RESPONDENT’S MOTION TO DISMISS PETITIONER’S
      MOTION UNDER 28 U.S.C. § 2255 TO VACATE HIS SENTENCE

                          At a session of said Court, held in
                       the U.S. Courthouse, Detroit, Michigan
                       on          September 8, 2016

                     PRESENT:       Honorable Gerald E. Rosen
                                    United States District Judge

                               I. INTRODUCTION

       By judgment entered on July 27, 2006, Petitioner Eric Lamar Woodley was

 sentenced to a 171-month term of imprisonment, following his plea of guilty to

 charges of conspiracy to distribute over 1,000 kilograms of marijuana, attempted

 possession with intent to distribute less than 100 kilograms of marijuana, aiding

 and abetting in the attempted possession with intent to distribute more than 100
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 kilograms of marijuana, and conspiracy to launder monetary instruments.1

 Petitioner did not appeal from this judgment of conviction.

       Through the present pro se motion brought under 28 U.S.C. § 2255,

 Petitioner challenges his conviction and sentence on a variety of grounds. In lieu

 of responding to the substance of the issues raised by Petitioner, the Government

 seeks the dismissal of Petitioner’s motion, arguing that this motion was filed well

 beyond the one-year period of limitation for seeking relief under § 2255. As

 discussed below, the Court agrees with the Government that Petitioner’s motion

 must be dismissed as untimely filed.

                          II. PROCEDURAL BACKGROUND

       At a plea hearing held on February 17, 2006, Petitioner Eric Lamar

 Woodley pled guilty to each of the four offenses with which he was charged in a

 July 27, 2004 first superseding indictment.2 At the conclusion of a July 25, 2006

 sentencing hearing, Petitioner was sentenced to a 171-month term of

 imprisonment, followed by a five-year period of supervised release. Petitioner did

 not pursue a direct appeal of his conviction and sentence; to the contrary, he and


       1
        At the time of Petitioner’s plea and sentencing, District Judge Victoria A. Roberts
 presided over this case. By order dated April 17, 2013, the case was reassigned to the
 undersigned District Judge.
       2
           There was no Rule 11 agreement reflecting the terms of Petitioner’s guilty plea.

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 his counsel signed a stipulation to waive Petitioner’s right to appeal his conviction

 or sentence in the event that his sentence did not exceed 171 months. (See DE

 218, 7/25/2006 Stipulation; see also 7/25/2006 Sentencing Hearing Tr. at 5

 (statement by Petitioner’s counsel acknowledging that “[w]e agree and we have

 signed the form waiving our appellate rights”).)

       Petitioner’s report date for serving his sentence initially was set for

 September 6, 2006, but this report date was extended to October 1, 2006 through a

 September 1, 2006 stipulated order. In addition, the court entered a September 11,

 2006 order eliminating electronic monitoring as a condition of Petitioner’s bond.

       Petitioner failed to surrender himself on his October 1, 2006 report date, and

 the Government states that his “whereabouts remained unknown until he was

 arrested at a dogfight in Detroit roughly a year later.” (Government’s Motion to

 Dismiss, Br. in Support at 3.) The Government further states that before Petitioner

 could be turned over to the federal authorities, he escaped from custody by

 assuming the identity of another inmate and arranging for his girlfriend to post

 bond in the name of that inmate. (See id.)3

       In April of 2008, Petitioner was located and arrested in Phoenix, Arizona.



       3
       Petitioner disputes the Government’s account of this episode, but this dispute is
 immaterial to the resolution of any issues addressed in this opinion and order.

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 He was placed in the custody of the Bureau of Prisons to begin serving his 2006

 sentence, and also was charged in a May 26, 2011 indictment with failure to

 surrender for service of a federal sentence. Petitioner pled guilty to this charge,

 and was sentenced on July 30, 2012 to a 13-month term of imprisonment, to be

 served consecutively to the 171-month sentence imposed in the present case.

       Through the present pro se motion filed on March 18, 2013 — over six and

 a half years after his July 25, 2006 sentencing in this case — Petitioner seeks to

 challenge his conviction and sentence under 28 U.S.C. § 2255. Specifically,

 Petitioner asserts (i) that his counsel provided constitutionally deficient

 representation at his July 25, 2006 sentencing hearing, (ii) that the court imposed a

 five-level increase to his offense level under the U.S. Sentencing Guidelines

 without his knowledge or consent, (iii) that his sentence is both procedurally and

 substantively unreasonable in various respects, and (iv) that his guilty plea was not

 knowingly made. In lieu of responding to these challenges on the merits, the

 Government requests that Petitioner’s motion be dismissed as untimely filed well

 beyond the one-year period for pursuing a collateral challenge to a conviction or

 sentence under § 2255.

                                   III. ANALYSIS

       Under the plain language of the statute itself, a motion under 28 U.S.C. §

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 2255 challenging the lawfulness of a conviction or sentence ordinarily must be

 filed within one year of “the date on which the judgment of conviction becomes

 final.” 28 U.S.C. § 2255(f)(1). In this case, Petitioner did not pursue a direct

 appeal of his conviction or sentence, so his judgment of conviction became final in

 early September of 2006, upon the expiration of the ten-day period for filing a

 notice of appeal. See Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th

 Cir. 2004).4 Plainly, then, Petitioner’s present motion was not timely filed within

 the presumptive one-year period set forth in § 2255, but instead was filed over five

 and a half years after the expiration of this deadline.

       Petitioner proposes two means of avoiding this time bar. First, he appeals to

 a provision in § 2255 that permits the filing of a motion within a year of “the date

 on which the facts supporting the claim or claims presented could have been

 discovered through the exercise of due diligence.” 28 U.S.C. § 2255(f)(4). Next,

 he contends that the usual one-year statutory deadline should be subject to

 equitable tolling. As discussed below, the Court finds neither of these arguments

 persuasive under the record presented here.



       4
         Following a 2009 amendment, Fed. R. App. P. 4(b)(1)(A) now allows for a 14-
 day period for appealing a judgment of conviction in a criminal case. The version of this
 rule that was in effect at the time of Petitioner’s sentencing, however, required that a
 notice of appeal be filed within ten days after the entry of judgment.

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 A.    Petitioner Has Failed to Show That the Present Motion Was Filed
       Within a Year of the Date on Which the Facts Supporting His Claims
       Could Have Been Discovered Through the Exercise of Due Diligence.

       Although, as noted, the one-year period of limitation for bringing a § 2255

 motion ordinarily begins to run on “the date on which the judgment of conviction

 becomes final,” 28 U.S.C. § 2255(f)(1), the statute provides a separate one-year

 window of opportunity for pursuing claims arising from newly-discovered

 evidence. Specifically, a prisoner’s § 2255 motion is timely so long as it is filed

 within a year of “the date on which the facts supporting the claim or claims

 presented could have been discovered through the exercise of due diligence.” 28

 U.S.C. § 2255(f)(4). In deciding whether this provision applies, a court must

 “determine when a duly diligent person in [the prisoner’s] circumstances would

 have discovered” the facts giving rise to his claim for relief. DiCenzi v. Rose, 452

 F.3d 465, 470 (6th Cir. 2006) (internal quotation marks and citation omitted).

 This provision, by its express terms, “does not require the maximum feasible

 diligence, only ‘due,’ or reasonable, diligence.” DiCenzi, 452 F.3d at 470 (internal

 quotation marks and citations omitted). Petitioner “bears the burden of proving

 that he exercised due diligence” in discovering the factual predicate for his claims.

 452 F.3d at 471.

       As to three of his four claims, Petitioner flatly admits in his motion and

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 supporting materials that he was aware of the facts underlying these claims back in

 2008, over four years before he filed his present motion. Specifically, in

 paragraph 13 of his motion, Petitioner expressly states that he “inform[ed] the

 court” in a November 18, 2008 submission of the issues surrounding the first,

 third, and fourth claims asserted in his motion — i.e., his claims of ineffective

 assistance of counsel, that his sentence is procedurally and substantively

 unreasonable, and that his guilty plea was not knowingly made. (Petitioner’s §

 2255 Motion at ¶ 13.) Petitioner’s acknowledgment that he was aware of the

 grounds for these three claims is confirmed by his 2008 letter to the court, in

 which he stated, among other things, (i) that he was “very stupid and very naive”

 at the time of his sentencing and “wouldn[’]t ever bel[ie]ve” that his sentencing

 counsel, Steven Fishman, “would intentionally get me more time th[a]n I should

 have rightfully got,” (ii) that his sentencing guidelines were incorrectly calculated

 to produce an increased sentencing range of 135-168 months, but that his counsel

 nonetheless advised him to “agree to more time th[a]n my guideline max[imum],”

 (iii) that he was “tricked” into pleading guilty and signing a waiver of his right to

 appeal as a result of his counsel’s misrepresentations, (iv) that he was unaware of

 what he had pled guilty and otherwise agreed to until he received a recent letter

 from his counsel and a “sentence computation,” copies of which he enclosed with

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 his letter to the court, and (v) that he “honestly had nothing to do with” one of the

 offenses to which he pled guilty and his counsel “could have very well proved it,”

 but that his counsel instead “lie[d]” and “told me I wasn[’]t pleading guilty to the

 stuff that wasn[’]t true[,] only the true stuff.” (Petitioner’s 8/19/2013 Reply, Ex.

 N, 11/18/2008 Letter at 2, 4, 7, 9-10, 11.)

       To be sure, Petitioner states in his motion that he was “not aware of how to

 properly raise the grounds” identified in the first, third, and fourth claims of his §

 2255 petition. (Petitioner’s § 2255 Motion at ¶ 13.) Be that as it may, the law is

 clear that the one-year period of limitation granted under § 2255(f)(4) “begins

 when the prisoner knows (or through diligence could discover) the important

 facts” supporting his claim, and “not when the prisoner recognizes the[] legal

 significance” of these facts. Owens v. Boyd, 235 F.3d 356, 359 (7th Cir. 2000);

 see also United States v. Pollard, 416 F.3d 48, 55 (D.C. Cir. 2005); Redmond v.

 Jackson, 295 F. Supp.2d 767, 771 (E.D. Mich. 2003). Similarly, both the Sixth

 Circuit and this Court have recognized that an inmate’s pro se status and lack of

 legal sophistication do not excuse a delay in the inmate’s pursuit of a collateral

 challenge to his conviction and sentence. See Hall v. Warden, Lebanon

 Correctional Institution, 662 F.3d 745, 751 (6th Cir. 2011); Rodriguez v. Elo, 195

 F. Supp.2d 934, 936 (E.D. Mich. 2002); Wilson v. Birkett, 192 F. Supp.2d 763,

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 766 (E.D. Mich. 2002). As the Supreme Court has emphasized, “we have never

 accepted pro se representation alone or procedural ignorance as an excuse for

 prolonged inattention when a statute’s clear policy calls for promptness.” Johnson

 v. United States, 544 U.S. 295, 311, 125 S. Ct. 1571, 1582 (2005). Accordingly,

 because Petitioner, by his own admission, failed to assert three of his four claims

 within a year after he was aware of the facts supporting these claims, § 2255(f)(4)

 does not assist him in establishing that these claims were timely filed.5

        This leaves only Petitioner’s claim that at his July 25, 2006 sentencing

 hearing, his offense level and resulting sentencing range under the U.S.

 Sentencing Guidelines were improperly increased through the application of an

 enhancement that purportedly had no factual or legal basis — namely, a three-



        5
         Notably, while Petitioner’s pro se status provides no legal justification for his
 delay in filing the present motion, he has acknowledged that he did, in fact, seek legal
 advice shortly after his sentencing. In an affidavit accompanying his reply in support of
 his § 2255 motion, Petitioner states that he was “informed” in August of 2006 “that his
 counsel (Mr. Fishman) intentionally had [him] unjustly sentenced,” and that he “consulted
 with two different attorneys” in September of 2006 and “found out that more than likely
 something was wrong” with his sentencing. (Petitioner’s 8/19/2013 Reply, Ex. O, Aff. at
 1.) Following these consultations, he advised his sentencing counsel, Mr. Fishman, that
 “he ha[d] talked with two different lawyers and . . . learned that a 171 month[] [sentence]
 [wa]s not a good or reasonable sentence.” (Id. at 3.) Petitioner states that these two
 attorneys “were willing to help [him] for money,” but that he could not afford to hire
 them. (Id. at 1-2.) Nothing in the record indicates that Petitioner sought the assistance of
 the court in securing substitute counsel to either (i) file an appeal on his behalf
 challenging his guilty plea and sentence, or (ii) assist him in preparing a § 2255 motion
 challenging his conviction and sentence.

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 level enhancement under § 3B1.1(b) of the Sentencing Guidelines for Petitioner’s

 role in the money laundering offense charged in count six of the first superseding

 indictment. Petitioner contends that he first discovered the factual basis for this

 claim in June or July of 2012, when his attorney in his 2011 failure-to-report case

 provided him with a copy of the transcript of his 2006 sentencing hearing and he

 realized, upon reviewing this transcript, precisely which enhancement the court

 had applied in computing his sentencing range and imposing a 171-month

 sentence.

       On two separate grounds, the Court rejects Petitioner’s contention that he

 “discovered” the facts supporting his sentencing challenge in mid-2012, such that

 his § 2255 motion was timely filed within a year of this discovery. First,

 Petitioner’s claim of newly-discovered facts rests upon an overly narrow and

 unduly specific characterization of the sentencing challenge he seeks to pursue.

 When Petitioner wrote to the court in November of 2008, he stated that he was in

 possession of a “sentence computation from where I[’]m at right now,” and he

 complained (i) that his sentencing range was the product of an incorrect

 application of the Sentencing Guidelines, and (ii) that some of his fellow inmates

 had received lesser sentences despite “worse records than me and . . . real true 3+

 point [e]nhancements on their case.” (Petitioner’s 8/19/2013 Reply, Ex. N,

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 11/18/2008 Letter at 4, 10, 12.) Similarly, in a reply brief in support of his § 2255

 motion, Petitioner states that he has been aware at all times since his July 25, 2006

 sentencing hearing that “something was seriously wrong with his sentence and

 sentencing,” but he insists that he did not “understand exactly what it was that was

 wrong” due to his “ignoran[ce] of the law.” (Petitioner’s 8/19/2013 Reply Br. at

 16.)

        As the case law makes clear, Petitioner’s admitted notice and awareness of

 alleged defects in the computation of his offense level and resulting sentencing

 range under the Sentencing Guidelines were sufficient to trigger the one-year

 statute of limitations for seeking relief under § 2255. The Sixth Circuit has

 explained, for instance, that newly discovered information “that merely supports

 or strengthens a claim that could have been properly stated without the discovery”

 does not give rise to a renewed one-year period for collaterally challenging a

 conviction or sentence. Jefferson v. United States, 730 F.3d 537, 547 (6th Cir.

 2013) (internal quotation marks and citations omitted). Likewise, the Fifth Circuit

 has observed that there is no “statutory right to an extended delay . . . while a

 habeas petitioner gathers every possible scrap of evidence that might . . . support

 his claim.” Flanagan v. Johnson, 154 F.3d 196, 199 (5th Cir. 1998). And the

 Second Circuit has made a similar point, observing that “it should go without

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 saying” that the factual predicate that triggers § 2255(f)(4)’s one-year period of

 limitation “must consist of facts,” and that “[c]onclusions drawn from preexisting

 facts, even if the conclusions are themselves new, are not factual predicates for a

 claim.” Rivas v. Fischer, 687 F.3d 514, 535 (2d Cir. 2012) (emphasis in original).

       These principles defeat Petitioner’s appeal to § 2255(f)(4) as a basis for

 concluding that his sentencing challenge was timely brought. Petitioner concedes

 that he has long believed, essentially since the conclusion of his July 25, 2006

 sentencing hearing, that the sentencing court misapplied the Sentencing

 Guidelines in arriving at his offense level and sentencing range, and that his

 resulting 171-month sentence could not be justified through a proper application

 of the Guidelines to the factual record before the court. To be sure, Petitioner

 explains that he was “completely ignorant of the law” at the time, (Petitioner’s

 8/19/2013 Reply Br. at 16), and that it was only in June or July of 2012 that he —

 with the assistance of his counsel in the failure-to-report case — reviewed the

 transcript of the July 25, 2006 sentencing hearing and understood precisely how

 the sentencing court had arrived at the offense level and sentencing range that

 produced Petitioner’s allegedly unlawful sentence. Prior to this discovery,

 Petitioner claims that he was operating under different theories and beliefs as to

 the derivation of his sentence — e.g., that “he was unjustly over sentenced due to

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 his criminal history being miscalculated” and an excessive quantity of drugs being

 attributed to him under the charged marijuana conspiracy offense. (Id. at 16 &

 n.9.)

         As explained, Petitioner’s delayed realization of the precise manner in

 which the sentencing court allegedly misapplied the Sentencing Guidelines in

 determining his sentence does not qualify as a discovery of new “facts” that would

 warrant a renewed one-year filing period under § 2255(f)(4). While the transcript

 of the July 25, 2006 sentencing hearing certainly serves as evidence of Petitioner’s

 present theory as to how the Sentencing Guidelines were misapplied, he had

 already formed a belief in November of 2008, and perhaps even earlier, that the

 sentencing range used to determine his sentence had been improperly increased,

 and that his sentencing counsel had induced him through misrepresentations to (i)

 accept a sentence that was apparently beyond even this increased range, (ii) forgo

 an evidentiary hearing to challenge the Government’s claim of the drug quantity

 for which he should be held responsible, and (iii) sign a waiver of his right to

 appeal. (See Petitioner’s 8/19/2013 Reply, Ex. N, 11/18/2008 Letter at 2, 4, 7, 9-

 10.)6 Under this record, the Court is satisfied that Petitioner was on sufficient


         6
         Petitioner appears to claim in his present submissions that until he reviewed the
 transcript of his sentencing hearing, he had been laboring under the assumption that the
 increased offense level used to determine his sentencing range was largely attributable to

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 notice by 2008 of the facts supporting his claim that his sentence was the unlawful

 product of an improper application of the Sentencing Guidelines.

        Indeed, the courts have been particularly skeptical of claims that transcripts

 of court proceedings are needed in order to pursue a collateral challenge to a

 conviction or sentence. In Hall, 662 F.3d at 751, the Sixth Circuit observed that

 the inmate in that case “clearly knew what took place at his trial and what his

 grounds for relief were,” and thus concluded that his lack of access to the

 transcript of his state court trial did not excuse the untimely filing of his habeas

 petition. Similarly, in Pollard, 416 F.3d at 54, the court explained that “[i]t could

 not have escaped [the defendant’s] notice during the sentencing proceedings, at

 which he was present,” that his counsel had pursued a course of action that the

 defendant sought to challenge in a § 2255 motion filed outside the ordinary one-

 year limitation period. More generally, this Court has previously cited a number

 of cases as “uniformly conclud[ing] that the lack of transcripts” does not trigger




 an incorrect calculation of his criminal history. Yet, in his November 2008 letter to the
 court, he expressed an apparent awareness that he also faced a three-level enhancement
 for his role in one or more of the offenses to which he pled guilty. (See id. at 8, 9, 12.)
 Once again, then, although Petitioner states that it was only upon reviewing the
 sentencing transcript that he learned precisely how this three-level enhancement was
 applied — i.e., to his money laundering rather than drug conspiracy offense — he
 evidently was aware far earlier that this enhancement was (or at least might have been)
 incorporated into the offense level and sentencing range used to determine his sentence.

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 the additional one-year filing period for claims arising from newly discovered

 facts, so long as “the petitioner should [have] know[n] of the underlying claims

 which the evidence will allegedly support.” Eggleston v. Woods, No. 11-11327,

 2012 WL 831494, at *6 (E.D. Mich. Feb. 15, 2012) (collecting cases), report and

 recommendation adopted, 2012 WL 831486 (E.D. Mich. March 12, 2012).

       Likewise, Petitioner here was present at his July 25, 2006 sentencing

 hearing, and therefore is properly charged with notice of what transpired at this

 proceeding. In particular, the sentencing court expressly stated (i) that counsel for

 the parties had agreed to amend paragraph 36 of the presentence report, which

 addressed Petitioner’s role in the charged conspiracy to launder monetary

 instruments, to include “a three-point upward adjustment for his role in that

 offense,” (ii) that in light of this enhancement, Petitioner had an “adjusted Offense

 Level of 37” which, when reduced by three levels for his acceptance of

 responsibility, resulted in an “applicable Offense Level [of] 34,” (iii) that the

 parties had further agreed to amend the presentence report to reflect “a Criminal

 History category of [I],” rather than II as stated in the presentence report, and (iv)

 that following these revisions, “the applicable Guideline range that the Court must

 take into consideration [is] 151 to 188 months.” (7/25/2006 Sentencing Hearing

 Tr. at 2-3.) Petitioner’s counsel then confirmed the accuracy of these changes, and

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 Petitioner himself agreed that he had an opportunity to review the presentence

 report with his counsel, and that apart from the amendments announced by the

 court, he did not seek any further changes to the presentence report. (Id. at 3.)

 Next, Petitioner’s counsel stated that Petitioner had elected to forgo an evidentiary

 hearing, given the belief of counsel and Petitioner himself that “had we gone

 forward with the [evidentiary] hearing, the best we could have hoped for . . .

 would have been the Guideline range that we have now,” and that “had it gone bad

 for us, his Guideline range could have been 210 to 262 which is significantly

 higher than the range that he has now.” (Id. at 4.) Petitioner himself then

 expressed his understanding that he could have proceeded with an evidentiary

 hearing, but he agreed, upon inquiry by both his counsel and the court, that it was

 in his best interest not to do so. (Id. at 4-5.) Finally, the sentencing court invited

 Petitioner to “put anything on the record” if he wished, but he declined to do so,

 stating that “I just want to accept my responsibility.” (Id. at 6.) In view of this

 record, as well as the facts of which Petitioner was aware when he wrote to the

 sentencing court in November of 2008, the Court finds that Petitioner’s challenge

 to the sentencing court’s application of the Sentencing Guidelines, like the

 remaining claims asserted in Petitioner’s present motion, cannot be saved from §

 2255’s statute of limitations through an appeal to newly discovered facts.

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       Alternatively, even if it could be said that Petitioner did not learn the facts

 underlying this sentencing challenge until he reviewed the transcript of his

 sentencing hearing in June or July of 2012, this discovery would not trigger a

 renewed one-year opportunity to pursue this challenge if Petitioner could have

 learned these facts earlier “through the exercise of due diligence.” 28 U.S.C. §

 2255(f)(4). As noted earlier, this one-year period begins to run “when a duly

 diligent person in [P]etitioner’s circumstances would have discovered” the facts

 giving rise to his claim for relief, and it is Petitioner’s burden to “prov[e] that he

 exercised due diligence.” DiCenzi, 452 F.3d at 470-71 (internal quotation marks

 and citation omitted).

       Petitioner’s task of satisfying this burden is made considerably more

 difficult by the fact that he failed to surrender on his scheduled October 1, 2006

 report date, and instead began serving his sentence in April of 2008, over a year

 and a half later, when he was located and arrested in Phoenix, Arizona and placed

 in the custody of the Bureau of Prisons. By the time of Petitioner’s apprehension,

 well over a year had passed since his judgment of conviction became final in

 September of 2006, and the usual one-year period for seeking relief under § 2255

 had already expired. Accordingly, Petitioner’s required showing of due diligence

 under § 2255(f)(4) hinges on his ability to demonstrate that his fugitive status did

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 not impair his ability to uncover the facts giving rise to his sentencing challenge.

       Unsurprisingly, Petitioner cannot make this showing. Petitioner insists that

 he actively attempted to pursue his rights between his sentencing in July of 2006

 and his arrest in April of 2008, with these efforts consisting of (i) being informed

 by “someone” in August of 2006 that his counsel “intentionally had [him] unjustly

 sentenced,” (ii) consulting with two or three other attorneys, which led Petitioner

 to believe that “more than likely something was wrong” and to “learn[] that a 171

 month[] [sentence] [wa]s not a good or reasonable sentence,” (iii) asking his

 sentencing counsel, Mr. Fishman, for a copy of his presentence report and “other

 case information,” which counsel allegedly refused to provide, (iv) gathering

 evidence bearing upon his criminal history and other factors used in calculating

 his sentencing range under the Guidelines, and (v) asking his mother to visit the

 court and retrieve documents from his court file. (Petitioner’s 8/19/2013 Reply,

 Ex. O, Aff. at 1-5.) Yet, even accepting that this handful of information-gathering

 measures over an 18-month period qualifies as due diligence, the Court already

 has explained that Petitioner had learned sufficient facts by the end of this period,

 if not earlier, to assert most or all of the claims advanced in his present motion, but

 he nonetheless did not file this motion until nearly five years later.

       Indeed, the only relevant materials that Petitioner evidently had not obtained

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 by the time he wrote his November 2008 letter to the court were a copy of his

 presentence report and the transcript of his sentencing hearing. According to

 Petitioner, he sent letters to his counsel in 2007 and 2008 requesting these

 materials, but his attorney allegedly refused to provide them, and his mother

 likewise was unable to obtain copies of these materials from the District Court

 clerk’s office. (See id. at 4-6.) Yet, when Petitioner wrote his lengthy 12-page

 letter to the sentencing court in November of 2008, he did not request the court’s

 assistance in getting copies of these materials, whether from his counsel or the

 court’s records, but instead merely (i) expressed his hope that the sentencing judge

 “kind of underst[oo]d everything a little better now,” so that “the next person in

 my [s]ituation gets a fair chance,” and (ii) apologized for his failure to surrender

 on his report date, acknowledging that this was “not [j]ustif[ied]” and a “very

 stupid” course of action. (Petitioner’s 8/19/2013 Reply, Ex. N, 11/18/2008 Letter

 at 12.) Nor does it appear from the record that Petitioner otherwise sought the

 court’s intervention, at any time from his sentencing in July of 2006 until mid-

 2012, in obtaining these items from his counsel or the court files. If not for the

 efforts of Petitioner’s attorney in the failure-to-report case, it is not clear when (or




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 whether) Petitioner might have gained access to these materials.7

        Petitioner’s sporadic attempts over several years to investigate alleged

 illegalities in his sentence do not qualify as the “exercise of due diligence” within

 the meaning of § 2255(f)(4). These efforts undoubtedly were impeded by

 Petitioner’s status as a fugitive for over 18 months after his sentencing.8 Even

 after he was apprehended and began serving his sentence, Petitioner embarked

 upon what could only be termed a leisurely pursuit of additional evidence in

 support of his eventual challenge to his conviction and sentence, waiting nearly

 five more years before filing his present motion. As observed earlier, there is no

 “statutory right to an extended delay . . . while a habeas petitioner gathers every

 possible scrap of evidence that might . . . support his claim.” Flanagan, 154 F.3d

 at 199. Rather, once Petitioner determined, almost immediately after the



        7
          Because Petitioner’s attorney in the failure-to-report case is not representing him
 in this case, counsel was under no obligation to assist Petitioner in filing his § 2255
 motion, nor does counsel’s diligence count toward the due diligence expected of
 Petitioner himself under § 2255(f)(4).
        8
          Notably, Petitioner states that in early 2007, he obtained a printout of certain state
 court records bearing upon his criminal history and mailed a copy to the sentencing court
 “without a return address.” (Petitioner’s 8/19/2013 Reply, Ex. O, Aff. at 3-4 & n.4.)
 Presumably, Petitioner wished to avoid divulging his location to the court, since an arrest
 warrant had been issued following his failure to surrender to the Bureau of Prisons to
 serve his sentence. Given this predicament, it would have been difficult for Petitioner to
 file a § 2255 motion or otherwise seek relief or assistance from the court while he
 remained a fugitive.

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 sentencing court entered its judgment in July of 2006, that something seemingly

 was amiss in his sentence, he was obligated at that time to exercise due diligence

 in uncovering facts in support of any claims he wished to assert under § 2255. As

 explained, the various excuses interposed by Petitioner — e.g., his lack of

 understanding of the law, his efforts to obtain more complete evidentiary support

 for his claims, and his sentencing counsel’s lack of assistance and cooperation —

 did not relieve him of the obligation to exercise the due diligence demanded under

 § 2255(f)(4) in order to secure an additional one-year period for challenging a

 conviction or sentence. Accordingly, because Petitioner has failed to demonstrate

 that he exercised the required diligence in seeking factual support for his claims,

 he is not entitled to the benefit of an additional one-year period of limitation from

 the date that he allegedly secured this factual support.

 B.    Petitioner Has Not Established His Entitlement to Equitable Tolling of
       the Usual One-Year Period for Seeking Relief Under § 2255.

       Apart from the provisions in § 2255(f) establishing four potential dates

 upon which the statutory one-year period of limitation begins to run, the Sixth

 Circuit has recognized that “[t]he one-year statute of limitations for filing a § 2255

 petition is subject to equitable tolling.” Johnson v. United States, No. 09-1556,

 457 F. App’x 462, 469 (6th Cir. Jan. 23, 2012); see also Jefferson, 730 F.3d at



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 549. Petitioner “bears the burden of demonstrating he is entitled to equitable

 tolling,” Johnson, 457 F. App’x at 469, and the Sixth Circuit has cautioned that

 courts should “grant equitable tolling sparingly,” Hall, 662 F.3d at 749 (internal

 quotation marks and citation omitted). To meet his burden, Petitioner must show

 “(1) that he has been pursuing his rights diligently, and (2) that some extraordinary

 circumstance stood in his way and prevented timely filing.” Jefferson, 730 F.3d at

 549 (internal quotation marks and citation omitted).

        Turning to the first prong of this inquiry, it readily follows from the Court’s

 foregoing discussion that Petitioner cannot establish that he pursued his rights

 diligently before filing his present motion. Indeed, the Court already has

 determined that Petitioner did not exercise the requisite diligence to trigger the

 additional one-year filing period for a § 2255 petition supported by newly

 discovered facts, and “it would be inappropriate for the judiciary” to apply

 equitable tolling in a manner that “would amount to little more than a

 disagreement with the way Congress wrote” § 2255(f)(4). Owens, 235 F.3d at

 360.

        Moreover, a number of courts have found that equitable tolling is

 unavailable where, as here, a criminal defendant’s delayed filing is attributable in

 part to the defendant’s “own flight as a fugitive from justice from the jurisdiction.”

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 Rahat v. Higgins, No. 05-6166, 159 F. App’x 13, 15 (10th Cir. Dec. 12, 2005); see

 also Garcia v. United States, No. 06-0994, 268 F. App’x 20, 22 (2d Cir. Feb. 29,

 2008) (finding that the petitioner “failed to exercise due diligence,” and that “it

 was [his] fugitive status that kept him from doing so”); United States v. Ladner,

 No. 05-98, 2012 WL 831946, at *2 (E.D. Pa. March 12, 2012) (finding that the

 defendant had not “diligently pursued his rights” where he “was a fugitive who

 attempted to evade his sentence,” and where even “after his capture, [he] waited

 over twenty months to file [his] § 2255 Motion”); Sain v. United States, No. 99-

 00129, 2006 WL 1050063, at *1 (E.D. Ark. April 20, 2006) (explaining that

 “Petitioner’s failure to timely file his habeas petition was due entirely to his choice

 to become a fugitive”). This reasoning is fully applicable here, given that

 Petitioner remained a fugitive for the entire one-year period ordinarily available

 for filing a § 2255 motion, and that even after he was apprehended in April of

 2008, Petitioner waited nearly five more years before filing the present motion,

 including an additional eight- or nine-month delay once he purportedly uncovered

 the final factual support for his claims in June or July of 2012. This course of

 conduct is the antithesis of diligent pursuit of one’s rights.

       Nor has Petitioner identified any “extraordinary circumstance” that “stood

 in his way and prevented timely filing” of his § 2255 motion. Jefferson, 730 F.3d

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 at 549. The only circumstance outside of Petitioner’s control that arguably

 impeded the filing of his motion was his sentencing counsel’s alleged lack of

 cooperation in providing the case materials requested by Petitioner. As observed

 earlier, however, Petitioner did not seek the court’s assistance in obtaining these

 materials — and, in fact, he tied his own hands in requesting such assistance by

 failing to surrender himself for service of his sentence. Accordingly, even

 assuming that Petitioner could have prepared and filed his present motion more

 promptly if his sentencing counsel had cooperated with his requests for

 information, this hardly accounts for the six-and-a-half-year lapse between

 Petitioner’s sentencing in July of 2006 and the filing of his § 2255 petition. It

 follows that Petitioner has not established either prong of the two-part standard for

 invoking equitable tolling to excuse his untimely filing.

                                IV. CONCLUSION

       For the reasons set forth above,

       NOW, THEREFORE, IT IS HEREBY ORDERED that Respondent’s

 motion to dismiss Petitioner’s motion under 28 U.S.C. § 2255 to vacate, set aside,

 or correct his sentence (docket #390) is GRANTED. In light of this ruling, IT IS

 FURTHER ORDERED that Petitioner’s motion under 28 U.S.C. § 2255 to vacate,

 set aside, or correct his sentence (docket #373) is DISMISSED as untimely filed

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 outside the one-year period of limitation set forth in § 2255(f). IT IS FURTHER

 ORDERED that Petitioner’s motion for removal of untrue statements and request

 for case status update (docket #417) is DENIED AS MOOT.

       Finally, in the event that Petitioner might seek to appeal any of the Court’s

 rulings in the present opinion and order, the Court finds that a certificate of

 appealability should be DENIED as to each of the claims asserted in Petitioner’s §

 2255 motion and as to the Court’s determination that this motion was not timely

 filed, where Petitioner has failed to make a substantial showing of the denial of a

 constitutional right.


                                         s/Gerald E. Rosen
                                         United States District Judge

 Dated: September 8, 2016

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on September 8, 2016, by electronic and/or ordinary mail.

                     s/Julie Owens
                     Case Manager, (313) 234-5135




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